Case 22-19361-MBK             Doc 1175 Filed 07/10/23 Entered 07/11/23 00:07:55                          Desc Main
                                      Document    Page 1 of 17


     COLE SCHOTZ P.C.                                         HAYNES AND BOONE, LLP
     Michael D. Sirota, Esq. (NJ Bar No. 014321986)           Richard S. Kanowitz, Esq. (NJ Bar No. 047911992)
     Warren A. Usatine, Esq. (NJ Bar No. 025881995)           Kenric D. Kattner, Esq. (admitted pro hac vice)
     Court Plaza North, 25 Main Street                        30 Rockefeller Plaza, 26th Floor
     Hackensack, New Jersey 07601                             New York, New York 10112
     (201) 489-3000                                           (212) 659-7300
     msirota@coleschotz.com                                   richard.kanowitz@haynesboone.com
     wusatine@coleschotz.com                                  kenric.kattner@haynesboone.com

     KIRKLAND & ELLIS LLP                                     Attorneys for Debtors and
     KIRKLAND & ELLIS INTERNATIONAL LLP                       Debtors in Possession
     Joshua A. Sussberg, P.C. (admitted pro hac vice)
     Christine A. Okike, P.C. (admitted pro hac vice)
     601 Lexington Avenue
     New York, New York 10022
     (212) 446-4800
     jsussberg@kirkland.com
     christine.okike@kirkland.com

                                    UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF NEW JERSEY


 In re:                                                        Chapter 11

 BLOCKFI INC., et al.,                                         Case No. 22-19361 (MBK)

                                     Debtors.                  (Jointly Administered)




                      REPLY MEMORANDUM IN SUPPORT OF
          THE DEBTORS’ SECOND MOTION TO EXTEND EXCLUSIVITY PERIODS


            The Court previously held that exclusivity should be extended to permit the Debtors to

 prosecute a proposed Plan through a confirmation hearing without additional cost and distraction.

 The Committee completely ignores the Court’s prior decision. And everything that has occurred

 since confirms the Court’s rationale. The Court should grant the extension and permit the Debtors
                                                                                                                   1
 to move forward with soliciting and prosecuting the proposed Plan and the Disclosure Statement.




 1
       See Second Amended Joint Chapter 11 Plan of BlockFi Inc. and its Debtor Affiliates Pursuant to Chapter 11 of
       the Bankruptcy Code [Docket No. 1132] (the “Plan”); Disclosure Statement Relating to the Second Amended
       Joint Chapter 11 Plan of BlockFi Inc. and its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code
       [Docket No. 1133] (the “Disclosure Statement”).

                                                          1
Case 22-19361-MBK        Doc 1175 Filed 07/10/23 Entered 07/11/23 00:07:55                  Desc Main
                                 Document    Page 2 of 17



 Clients want cryptocurrency back, and not one client objected to the Disclosure Statement.

 Ironically, the only roadblock to maximizing value and making distributions is the Committee.

                                            Introduction

        1.      Since the Official Committee of Unsecured Creditors (the “Committee”) was

 appointed and retained advisors, the Debtors have attempted to work with the Committee to

 maximize the value of the estates and distributions to BlockFi clients. But the Committee always

 had a different agenda, namely, destruction of the Debtors’ management team, creditor recoveries

 be damned. Committee objectivity is non-existent, as it seeks to pursue an irrational and massively

 expensive path that has zero chance of maximizing distributions to BlockFi clients and, worse,

 destroys value and creates material further delays.

        2.      The Court has seen some of this first-hand, but actions behind-the-scenes make it

 clear. Before the Committee reviewed a single document or asked a single question of a single

 witness, it proclaimed that Committee members and the Debtors’ management team were

 adversaries. The Committee has since wasted millions with objections to nearly every substantive

 motion—including one that simply sought to return assets outside the estate to BlockFi clients; the

 Committee demanded a massive amount of unnecessary diligence (through three sets of advisors)

 and then insisted on preserving its right to sue BlockFi clients to secure its support. The Committee

 has since made clear in word and deed that it will try to extract pain from, and ruin the lives of,

 the Debtors’ management team, regardless of the waste the Committee creates or the damage and

 delay the Committee inflicts on creditor recoveries.

        3.      While simultaneously driving up fees by engaging in extensive motion practice and

 even more extensive discovery, the Committee feigns concern over the costs of this case. The

 Committee uses rising case costs as an excuse to suggest the company is mismanaged, even though



                                                  2
Case 22-19361-MBK            Doc 1175 Filed 07/10/23 Entered 07/11/23 00:07:55                               Desc Main
                                     Document    Page 3 of 17



 the Committee’s practices and strategy caused most of this burn. Just by way of example, the

 Committee retained a blockchain forensics firm and directed it to investigate every cryptocurrency

 transaction in the history of BlockFi, to “find” the fraud its forensics team found in another case
                                                                             2                                       3
 where (unlike here) there actually was theft from the company. The Committee spent millions.

 It found none. The Debtors also publicly disclosed all insider-related transactions in the year
                                                                                                         4
 before bankruptcy in writing and during a public court hearing at the outset of this case. Yet after

 the Debtors went through that effort and voluntarily made their management team available for

 interviews, the Committee served more than 100 document requests and insisted on 11 depositions

 exceeding 55 hours of on-the-record examination, and during which its agenda was apparent. The

 proof is in the pudding: even after filing its June 27 pleading complaining about cost, the

 Committee served three new subpoenas, 70 new document requests, and 60 new interrogatories so

 far. The Committee’s behavior is inconsistent with any desire to conserve expense or maximize

 value and, most certainly, does not justify terminating the Debtors’ exclusivity periods.


 2
     Application for Retention of Professional [Docket No. 401] (seeking retention of Elementus as “blockchain
     intelligence and forensics expert”); see Report of Robert J. Stark, In re Cred Inc., No. 20-12836-JTD (Bankr. D.
     Del. Mar. 8, 2021) [Docket No. 605] (detailing the “dereliction in corporate responsibility” of Cred Inc. and its
     officers contributing to the theft of fiat currency and cryptocurrency by Cred’s chief capital officer).
 3
     The Committee’s professionals have incurred more than $14.94 million in fees and expenses through April 30,
     2023. See First Interim Application for Allowance of Fees and Reimbursement of Expenses to Genova Burns
     LLC [Docket No. 1073] (seeking allowance of $523,017.43 in fees and expenses); First Interim Application for
     Allowance of Fees and Reimbursement of Expenses of Brown Rudnick LLP, as Counsel to the Official Committee
     of Unsecured Creditors for Services Rendered and Reimbursement of Expenses Incurred for the Period of
     December 29, 2022 Through and Including April 30, 2023 [Docket No. 1074] (seeking allowance of
     $6,844,965.02 in fees and expenses); First Interim Application for Allowance of Fees and Reimbursement of
     Expenses of Elementus, Inc. [Docket No. 1075] (seeking allowance of $1,167,163.06 in fees and expenses); First
     Interim Application for Allowance of Fees and Reimbursement of Expenses to Elementus, Inc. [Docket No. 1076]
     (seeking allowance of $3,519,908.91 in fees and expenses); First Interim Application for Allowance of Fees and
     Reimbursement of Expenses of McCarter & English, LLP, as Efficiency Counsel to the Official Committee of
     Unsecured Creditors for Services Rendered and Reimbursement of Expenses Incurred for the Period of December
     29, 2022 Through and Including March 31, 2023 [Docket No. 1077] (seeking allowance of $1,355,202.63 in fees
     and expenses). Committee demands are the direct cause of not only these expenses, but also of a material portion
     of the expenses incurred by Debtor professionals.
 4
     See Global Notes, Methodology, and Specific Disclosures Regarding the Debtors’ Schedules of Assets and
     Liabilities and Statements of Financial Affairs [Docket No. 243]; Tr. of Jan. 9, 2023 Status Conference at 16:15–
     19:16 [Docket No. 230].

                                                          3
Case 22-19361-MBK             Doc 1175 Filed 07/10/23 Entered 07/11/23 00:07:55                           Desc Main
                                      Document    Page 4 of 17



         4.           The truth is that the Committee’s focus has been misdirected by anger and its

 advisors are incentivized to continue a crusade against BlockFi management regardless of the

 consequences to clients. And the coup de grace of these efforts (so far) is the Committee’s second

 exclusivity objection, coupled with a “cross-motion” asking the Court to terminate exclusivity and

 permit the solicitation and prosecution of dueling plans, appoint a trustee, or convert the case to
              5
 chapter 7. The Committee’s exclusivity arguments are rehashes of theories that the Court already

 rejected. And its “cross-motion,” which the Debtors will address before the August 16 hearing, is

 frivolous. None of the relief the Committee requests would benefit BlockFi clients. Instead, the

 Committee’s path would further reduce recoveries and ensure that no distributions are made until

 far into the future. The Committee barely suggests otherwise; it cannot credibly do so.

         5.           The Debtors, on the other hand, are focused on maximizing recoveries to BlockFi

 creditors—and nothing else. There is no serious doubt that the proposed Plan does exactly that,

 for straightforward reasons:
                                                                                                     6
                  •   As disclosed in the Disclosure Statement and Liquidation Analysis, the amounts
                      distributed to BlockFi creditors will overwhelmingly depend on the Debtors’ efforts
                                                                                            7       8
                      to recover against the actual fraudsters in the crypto sector—Alameda, FTX, and

 5
     Cross-Motion of the Official Committee of Unsecured Creditors for an Order (A) Appointing a Chapter 11
     Trustee. (B) Terminating the Debtors’ Exclusivity Periods or, Alternatively, (C) Converting these Cases to
     Chapter 7 Proceedings, and (D) for Other Related Relief [Docket No. 1131] (the “Committee Obj.”).

 6
     Amended Disclosure Statement at Art. II.C; Exhibit B – Liquidation Analysis at 6–7 [Docket No. 1133].
 7
     See e.g., SEC Charges Caroline Ellison and Gary Wang with Defrauding Investors in Crypto Asset Trading
     Platform      FTX,     U.S.     Securities   and     Exchange      Commission       (December       21,   2022),
     https://www.sec.gov/news/press-release/2022-234 (“The complaint alleges that, by manipulating the price of
     FTT, Bankman-Fried and Ellison caused the valuation of Alameda’s FTT holdings to be inflated, which in turn
     caused the value of collateral on Alameda’s balance sheet to be overstated, and misled investors about FTX’s risk
     exposure.”); United States Attorney Announces Extradition Of FTX Founder Samuel Bankman-Fried To The
     United States And Guilty Pleas Of Former CEO Of Alameda Research And Former Chief Technology Officer Of
     FTX, United States Attorney’s Office Southern District of New York (December 22, 2022),
     https://www.justice.gov/usao-sdny/pr/united-states-attorney-announces-extradition-ftx-founder-samuel-
     bankman-fried-united (“With the pleas announced today, Ms. Ellison and Mr. Wang admitted they were willing
     participants in schemes to defraud FTX.com’s customers and backers out of their money.”)
 8
     See e.g., United States Attorney Announces Charges Against FTX Founder Samuel Bankman-Fried, United States
     Attorney’s Office Southern District of New York (December 13, 2022), https://www.justice.gov/usao-

                                                          4
Case 22-19361-MBK             Doc 1175 Filed 07/10/23 Entered 07/11/23 00:07:55                              Desc Main
                                      Document    Page 5 of 17


                                                9
                     Three Arrows Capital —as well as Emergent and Marex.                         These claims are
                     BlockFi’s largest assets by far, by orders of magnitude.

                 •   Success or failure on these affirmative claims, and in defending the over $4 billion
                     in claims asserted by Alameda, FTX and 3AC against BlockFi, will swing
                     recoveries by over $1 billion in aggregate and up to 75 cents on the dollar for
                                              10
                     every BlockFi creditor. No other claims make a material difference to creditors.

                 •   It is irrational for any estate fiduciary to alienate key witnesses in prosecuting and
                     defending against these claims—particularly to pursue vindictive theories that lack
                     merit and would make no difference to creditor recoveries even if they had merit.
                     The Committee cannot explain how its proposal, which actively assists BlockFi’s
                     adversaries, maximizes value. It does not.

            6.       In other words, taking action to impair BlockFi’s most significant assets makes no

 sense. Yet that is what the Committee is doing. Every chapter 11 estate is a so-called “bundle of
          11
 sticks.”        But the Committee’s proposed path would burn BlockFi’s bundle of sticks to kindling

 and dust. Committee counsel claims that creditors may reject a plan that settles estate claims

 against insiders to preserve the estate’s full-throated ability to pursue $1+ billion from commercial

 counterparties. While time will tell, and the Committee’s invective surely poisons the well, exactly

 the opposite should be true: any rational creditor would vote “yes” on the proposed Plan.



      sdny/pr/united-states-attorney-announces-charges-against-ftx-founder-samuel-bankman-fried (“As today’s
      charges make clear, this was not a case of mismanagement or poor oversight, but of intentional fraud, plain and
      simple.”); id. (“The Justice Department has filed charges alleging that Samuel Bankman-Fried perpetrated a range
      of offenses in a global scheme to deceive and defraud customers and lenders of FTX and Alameda, the defendant’s
      crypto hedge fund, as well as a conspiracy to defraud the United States government.”); Second Interim Report of
      John J. Ray III to the Independent Directors: The Commingling and Misuse of Customer Deposits at FTX.com at
      2, In re FTX Trading Ltd., Case No. 22-11068 (JTD) (Bankr. D. Del. June 26, 2023) [Docket No. 1704-1]
      (“[F]rom the inception of the FTX.com exchange, the FTX Group commingled customer deposits and corporate
      funds, and misused them with abandon.”); id. (“The FTX Senior Executives did not commingle and misuse
      customer deposits by accident. Commingling and misuse occurred at their direction, and by their design.
      Bankman-Fried … and others, lied to banks and auditors, executed false documents, and moved the FTX Group
      from jurisdiction to jurisdiction, taking flight from the United States to Hong Kong to the Bahamas, in a continual
      effort to enable and avoid detection of their wrongdoing.”).
 9
      See e.g., Foreign Representatives’ Notice of Filing of December 2, 2022 Hearing Presentation, In re Three
      Arrows Capital, Ltd., Case No. 22-10920 (MG) (Bankr. S.D.N.Y. December 2, 2022) [Docket No. 68] (detailing
      lack of cooperation by 3AC management with liquidation efforts and transfers of Three Arrows Capital funds to
      pay for superyacht).
 10
      See Disclosure Statement at Art. II.C, Art. V.C.
 11
      Committee Obj. ¶ 1.

                                                            5
Case 22-19361-MBK         Doc 1175 Filed 07/10/23 Entered 07/11/23 00:07:55                   Desc Main
                                  Document    Page 6 of 17



        7.      The Committee’s proposed strategy has zero upside for creditors. The only thing

 that denying an extension of exclusivity would do is permit the filing of dueling plans, materially

 increasing professional fees and further delaying initial distributions. The Court already explained

 why terminating exclusivity makes no sense—yet the Committee ignored the Court and spent yet

 another fortune drafting yet another set of unnecessary pleadings. And suggesting the appointment

 of a chapter 11 trustee, or converting the case to chapter 7, only wastes more money. Neither

 approach would lead to distributions occurring any faster. The Committee does not suggest that

 denying an exclusivity extension would reduce cost or maximize value, nor could it.

        8.      And what is the supposed “benefit” to clients of the Committee’s proposed war on

 insiders as an alternative to the proposed Plan? The Committee has already spent millions on its

 “preliminary” investigation. Actual litigation would cost many millions more. The Committee

 does not say that pursuing claims against insiders would bring material net consideration to the

 estate for distribution to creditors. Nor could it credibly do so. The truth is that even if the estates

 made the massive investment required to pursue those claims, there is no realistic possibility of

 recovering material value that would make a substantive difference to creditors. None.

        9.      Instead, the Committee offers ad hominem attacks on the Debtors’ management

 team and bald, irresponsible claims of “fraud on customers.” While none of that is true, none of

 it is relevant to the estate’s claims—nor does Committee member anger justify throwing good

 money after bad. The Committee must realize that rational people seeking to maximize their

 recovery will reject the Committee’s “burn the house down” agenda. That is why the Committee

 wants to deny creditors the ability to choose reason and vote in favor of the value-maximizing

 approach proposed in the Plan. But the Committee’s scorched earth war on insiders only destroys

 value, and ending exclusivity benefits no creditor. The Court should grant the Debtors’ request.



                                                    6
Case 22-19361-MBK               Doc 1175 Filed 07/10/23 Entered 07/11/23 00:07:55                            Desc Main
                                        Document    Page 7 of 17



                                                         Reply

 I.       The Debtors Are Clearly Entitled to an Extension of Exclusivity.

          10.      The legal standard for extending exclusivity is neither complicated nor

 controversial and is one the Debtors clearly meet. As set forth in the Second Exclusivity Motion,

 courts typically examine multiple factors to assess whether there is “cause” for extension of the

 Exclusivity Period. See In re Cent. Jersey Airport Servs., LLC, 282 B.R. 176, 184 (Bankr. D.N.J.
                                                                                                 12
 2002); In re Friedman’s Inc., 336 B.R. 884, 888 (Bankr. D. Ga. 2005) (same).

          11.      Even if the Court were considering the Debtors’ Second Exclusivity Motion in a

 vacuum, the Debtors meet the legal standard for the extension requested. The Debtors only seek

 an extension sufficient to permit the Debtors to solicit and prosecute a plan and disclosure

 statement filed after the Debtors tried in good faith to negotiate consensus with the Committee at

 mediation. The request was filed less than six months after the Petition Date. Hundreds of millions

 of dollars are at stake and hundreds of thousands of individuals are affected, in a case with a slew

 of complex issues, including a developing regulatory landscape that must be navigated to make

 distributions and litigation on behalf of the estate in multiple forums, in multiple countries, to
                           13
 maximize recoveries.           The Debtors are paying all of their debts as they come due and they did

 not delay the filing of the proposed Plan and Disclosure Statement. Moreover, not a single BlockFi

 client objected to the Disclosure Statement before expiration of the objection deadline.



 12
      These nine factors are the following: (i) the size and complexity of the case; (ii) progress toward reorganization;
      (iii) the necessity of sufficient time to negotiate a plan of reorganization and prepare adequate information to
      allow a creditor to determine whether to accept such plan; (iv) whether the debtor is paying its debts as they
      become due; (v) whether the debtor has demonstrated reasonable prospects for filing a viable plan; (vi) whether
      the debtor has made progress negotiating with creditors; (vii) the amount of time which has elapsed in the case;
      (viii) whether the debtor is seeking an extension to pressure creditors; and (ix) whether an unresolved contingency
      exists. In re Cent. Jersey Airport Servs., 282 B.R. at 184.
 13
      See, e.g., Tr. of Hr’g Held Apr. 19, 2023, 26:20–27:7, In re BlockFi, Inc., No. 22-19361 (MBK) (Bankr. D.N.J.
      Apr. 19, 2023) [Docket No. 756] (the “April 19 Hr’g Tr.”).

                                                            7
Case 22-19361-MBK             Doc 1175 Filed 07/10/23 Entered 07/11/23 00:07:55                             Desc Main
                                      Document    Page 8 of 17



          12.      The Court previously found that the Debtors had made meaningful progress in these
                                                               14
 chapter 11 cases by reference to the Court’s docket. That observation is even more clearly correct

 today, as the Debtors have continued to make progress and drive this case to conclusion. In

 addition to that laid out in the Second Exclusivity Motion, at this point the Debtors have now also:

          •     engaged in a monthlong mediation in an effort to resolve or otherwise narrow issues in
                                         15
                connection with the Plan;

          •     drafted and filed proofs of claim in the FTX Trading Ltd. jointly administered chapter
                11 cases, the outcome of which will be a material source of BlockFi creditor recoveries;

          •     drafted and filed proofs of claim in the Core Scientific Inc. jointly administered chapter
                11 cases;

          •     drafted, developed, and filed an amended Plan and Disclosure Statement on June 28,
                2023 [Docket Nos. 1132–1133], which materially narrow the issues in dispute;

          •     filed an application in lieu of motion with respect to the withdrawal process for the
                digital assets in the Custodial Omnibus Wallets [Docket No. 1140];

          •     filed five omnibus objections to claims [Docket Nos. 1067, 1068, 1069, 1070 1091];

          •     rejected numerous executory contracts [Docket Nos. 1019, 1035, 1045, 1096, 1159];

          •     resolved a significant amount of the Debtors’ institutional loan portfolio pursuant to
                this Court’s Order Granting Debtors’ Motion for Entry of an Order (I) Authorizing the
                Debtors to Continue Servicing and Administration Activities in the Ordinary Course of
                Business with Respect to the Debtors’ Institutional Loan Portfolio and Granting
                Related Relief and (II) Authorizing and Establishing Procedures Regarding the
                Restructuring, Settlement, or Other Modifications of Institutional Loans and Loan
                Obligations [Docket No. 299] (see, e.g., this Court’s orders authorizing the Debtors to
                enter into loan settlement agreements at [Docket Nos. 439, 488, 566 and 567]);

          •     prepared, initiated, and ultimately settled an adversary proceeding against Druk
                Holding and Investment Limited seeking to enforce the terms of a master digital
                currency loan agreement. See BlockFi International Ltd. v. Druk Holding and
                Investment Limited, Adv. No. 23-01078 (Adv. Docket No. 1);



 14
      April 19 Hr’g Tr. at 22:24–23 (“I can look at the docket and get 80 percent of the content of the declaration just
      by looking at the docket because it shows the activity of the Debtor and of, and the Committee in this case.”).
 15
      Order Appointing a Mediator and Governing Mediation Procedures [Docket No. 1013].

                                                           8
Case 22-19361-MBK            Doc 1175 Filed 07/10/23 Entered 07/11/23 00:07:55                            Desc Main
                                     Document    Page 9 of 17



          •     initiated an adversary proceeding against PrimeBlock Operations LLC seeking to
                enforce the terms of a master digital currency loan agreement. See BlockFi Lending
                LLC v. PrimeBlock Operations LLC, Adv. No. 23-01116 [Adv. Docket No. 1];

          •     prepared and initiated an adversary proceeding against Digistar Norway AS and others
                to recover $37 million on an equipment mining loan. See BlockFi Lending LLC v.
                Digistar Norway AS et al, Adv. No. 23-01150 [Adv. Docket No. 1];

          •     drafted a proposed complaint against Vrai Nom Investment Limited for the return of
                crypto collateral and engaged in settlement negotiations with respect thereto;

          •     obtained entry of an order appointing a fee examiner [Docket No. 854] to ensure
                administrative expenses remain at the appropriate level;

          •     initiated an adversary proceeding against the Connecticut Department of Banking
                regarding the imposition of fines and penalties against the Debtors related to the
                Debtors’ money transfer license. See BlockFi Inc. v. Jorge L. Perez, Adv. No. 23-
                01159 (Bankr. D.N.J. June 13, 2023) [Adv. Docket No. 1]; and

          •     consensually resolved by stipulation and agreed order the treatment of the SEC Penalty
                Claims pursuant to which the SEC has agreed to forego any distributions on such claims
                until payment in full of all creditors. See Stipulation and Agreed Order Between U.S.
                Securities and Exchange Commission and Debtors To Forego Receiving Distributions
                From Debtors’ Bankruptcy Estates [Docket No. 1161].

          13.      Importantly, while the Committee has been an obstacle to progress at every turn,

 the Amended Plan reflects that the Debtors made multiple modifications to address Committee

 concerns. The Committee’s “Statement” indicated disagreement with sixteen items in the original
                                                         16
 plan; the Amended Plan resolves eight of them. The Debtors are hopeful that the Committee will

 begin thinking logically and negotiate the final disputed points in good faith, but if the Committee

 will not do so, the Debtors have no choice but to proceed with the proposed amended Plan.



 16
      See Plan at Art. IV.D.4 (providing for the Committee’s financial advisor to be Wind Down Trustee and a “Wind-
      Down Debtors Oversight Committee” that includes a Committee appointee), Art. III (resolving the value
      allocation issue), Art. IV.P (describing the employee transition plan), Art. VIII.C (resolving Committee concern
      over timing of exculpation), Art. III.C (addressing Committee concern over government penalty claims), Art.
      II.B.4 (addressing Committee concern about post-effective date professional fees), Art. III.C (addressing non-
      voting classes of claims), Art. VI.E (addressing foreign exchange concerns); Order (I) Authorizing the Debtors
      to (A) Honor Withdrawals from Wallet Accounts, (B) Update the User Interface to Properly Reflect Transactions
      and Assets as of the Platform Pause, and (C) Conduct Ordinary Course Reconciliation of Accounts, and
      (III) Granting Related Relief [Docket No. 923] (wallet order already addresses holdback for preferences).

                                                          9
Case 22-19361-MBK             Doc 1175 Filed 07/10/23 Entered 07/11/23 00:07:55               Desc Main
                                     Document    Page 10 of 17



          14.       Moreover, the Debtors’ exclusivity request exists not in a vacuum, but in the

 context of the Court’s prior rulings. The Court’s guidance (which the Committee is unwilling to

 accept) is particularly on point now. As the Court recognized, exclusivity is “a tool” available to
                                                                         17
 Debtors, while “voting and confirming a plan are a creditor’s tools.”        The Court’s message was

 clear: an exclusivity extension is appropriate to give the Debtors a fair chance to put their Plan
                                                                                    18
 forward, commence solicitation, and allow creditors to speak through votes.             That is all the

 Debtors are asking to do. The Debtors tried to negotiate a comprehensive resolution during

 mediation, and when that did not succeed, amended the Plan and a Disclosure Statement (and the

 Committee knew exactly what was coming). The Committee wants to substitute its anger for the

 judgment of the Debtors (and the Court). But that is not how the Bankruptcy Code works.

          15.       The Committee’s simplistic assertion that the case is a “snap to wrap up at very

 little cost” ignores reality—including the Committee’s own, material, ongoing expenditures. And

 its Objection is plagued by inaccuracies about BlockFi’s ongoing activities, including:

                •   BlockFi has not ceased all operations. BlockFi is servicing outstanding loans and
                    engaging in staking activities and mining. BlockFi is attempting to maximize value
                    from each of these activities, in the face of Committee inaction and obstruction.
                    BlockFi needs employees and advisors to do so.

                •   BlockFi is actively working on wallet withdrawals, which have been delayed by a
                    complex preference analysis completed at the Committee’s request. To be clear,
                    the Debtors do not support pursuing preferences and believe these assets should be
                    returned to BlockFi clients, but the Debtors have waited for weeks and continue to
                    wait to hear back from the Committee on the Debtors’ proposal to expedite the
                    process.

                •   BlockFi is actively working on expanding the capabilities of the BlockFi platform
                    to permit in-kind BIA distributions securely following plan confirmation. Creating
                    this capability will require complex technology development and maintenance long
                    after the effective date of any plan. BlockFi has walked the Committee through the

 17
      April 19 Hr’g Tr. at 26: 4-8.
 18
      See id. at 21:15-20.

                                                    10
Case 22-19361-MBK              Doc 1175 Filed 07/10/23 Entered 07/11/23 00:07:55                             Desc Main
                                      Document    Page 11 of 17



                     personnel that it needs, and is using, to create and maintain this capability. To date,
                                                                                 19
                     the Committee has not offered any substantive feedback.

                 •   BlockFi has also actively planned for the wind-down of its workforce over time.
                     As the Court knows, BlockFi terminated 2/3 of its entire workforce imminently
                     prior to the chapter 11 filing, and (contrary to the Committee’s suggestions)
                     BlockFi headcount is down 24% since the bankruptcy filing. Indeed, BlockFi has
                     shared weekly reports with Committee advisors since the petition date and, again,
                     has never received any substantive feedback.

           16.       The case is expensive, no doubt, but by the Committee’s own analysis, 75% of the

 expenses relate to work done by restructuring professionals—most of which was driven by

 Committee obstruction. Diverting from the current plan process would only accelerate the burn
                              20
 and delay distributions.

 II.       Terminating Exclusivity Is The Wrong Way To Address The Committee’s Objection
           To Releases In The Proposed Settlement And Plan.

           17.       With the progress made by the Debtors in the face of Committee obstruction, the

 primary remaining issue in dispute is whether the estates should settle, prosecute, or retain causes

 of action against the Debtors’ insiders. The Committee claims that the “true underlying purpose”
                                                                                                 21
 of the Motion is “to forcibly extract plan releases where none are due.”                             But, again, the

 Committee’s argument makes no sense. Extending exclusivity to permit a rational, efficient plan

 process does not “extract” anything. Creditors will get to vote on whether to accept the Debtors’

 value-maximizing plan.            Ending exclusivity would only mean a default to the anarchy of

 Committee-created chaos where millions more is wasted on professional fees for no reason.



 19
       Terminating people and bringing in additional professionals or new people in an effort to maintain this capability
       with people who are not familiar with BlockFi or the details of its business and platform would be more expensive
       and more risky—which presumably is why the Committee is not suggesting that the estates do that.
 20
       For the avoidance of doubt, the Committee’s run-rate analysis is materially incorrect. That said, the Debtors are
       working with the Committee’s financial advisor in an attempt to align on the facts and come to agreement on
       making the process going forward as efficient as possible.
 21
       Committee Obj. ¶ 32.

                                                            11
Case 22-19361-MBK              Doc 1175 Filed 07/10/23 Entered 07/11/23 00:07:55                        Desc Main
                                      Document    Page 12 of 17



          18.          For now, the Committee’s argument is self-defeating. As the Court observed

 before, competing plans created by ending an exclusivity period while a proposed plan is already
                                                                22
 on file, are costly, burdensome, and value-destructive.             As stated above and as recognized by the
                                                                                                            23
 Court, exclusivity is the Debtors’ tool to drive a value-maximizing resolution to these cases. The

 voting process that the Debtors are seeking to unleash—and the Committee is desperate to avoid—

 is the creditors’ tool to ensure their voice is heard. And Congress intended debtors to have the first

 and exclusive chance to propose and confirm a Plan. E.g., In re Energy Conversion Devices, Inc.,

 474 B.R. 503, 509 (E.D. Mich. 2012) (“Congressional intent obviously was that the Chapter 11

 debtor should normally have the first and exclusive chance to propose and to confirm a plan.”)

 (emphasis added). The Committee’s effort to avoid this process is telling and baseless.

          19.          The Committee’s references to other cryptocurrency cases only proves the Debtors’

 point. The Committee gets most of the facts wrong. But comparing this case to others illustrates

 the propriety of the proposed Plan and the absurdity of the Committee’s scorched-earth path.

          20.          First, despite the Committee’s attempt to sling mud, BlockFi is clearly not
                                                                                                             24
 FTX/Alameda. Multiple senior FTX/Alameda officials have pled guilty to federal felonies and

 their ringleader, Sam Bankman-Fried, awaits two separate federal trials. Among many other

 things, Alameda and FTX violated their own Terms of Service, defrauded lenders and contract

 counterparties, diverted money to affiliates illegally, and lied to the world about holding customer

 assets on the FTX platform one-to-one. No similar allegations are (or plausibly could be) lodged



 22
      See April 19 Hr’g Tr. at 21:12-17.
 23
      Id. at 26:4-8.
 24
      See,     e.g.,  https://www.justice.gov/usao-sdny/pr/united-states-attorney-announces-extradition-ftx-founder-
      samuel-bankman-fried-united; https://www.nytimes.com/2022/12/21/technology/ftx-fraud-guilty-pleas.html;
      https://www.nytimes.com/2023/02/28/technology/ftx-guilty-plea-fraud.html

                                                         12
Case 22-19361-MBK            Doc 1175 Filed 07/10/23 Entered 07/11/23 00:07:55                           Desc Main
                                    Document    Page 13 of 17



 against BlockFi or any member of its management team—and in fact one of FTX’s primary victims

 is BlockFi itself.       Indeed, one part of the Committee’s brief rings true:                   the truth about

 Alameda/FTX is still coming out, and BlockFi learns the troubling facts as they are revealed, along

 with the rest of the world. Quite frankly, the fact that the Committee would mention BlockFi in

 the same vein as Alameda/FTX is proof positive that the Committee’s crusade is a witch hunt.

          21.      Nor does BlockFi bear any resemblance to Celsius Network LLC. Celsius’s

 co-founder, Alexander Mashinsky, manipulated the price of a token he created (CEL), and then

 used customer funds to buy back tokens he fraudulently kept for himself—using customer funds

 to “cash out.” Mr. Mashinsky also falsely represented that Celsius and its CEL token were

 registered with (and approved by) the SEC. Again, nothing similar has been or plausibly could be

 alleged against any member of the BlockFi management team by anyone.

          22.      Celsius was also criticized for entirely lacking a risk management function and even

 failing to track its assets and liabilities. But BlockFi’s practices, again, were not comparable. As
                                                                                                                   25
 described in detail in the Report of the Special Committee of BlockFi Inc’s Board of Directors,

 BlockFi had industry-leading risk management practices and was far more conservative than peers.

 BlockFi demanded significant overcollateralization for loans extended to Alameda and 3AC

 during a time when they were among the most sought-after digital asset counterparties in the sector.

 The Committee suggests BlockFi should have declined to do business with Alameda and FTX

 while both were being actively monitored not only in the market, but also by parties to Voyager’s

 active chapter 11 case (including a bankruptcy court), where loans to Alameda were viewed as a




 25
      Debtors’ Motion for Entry of an Order (I) Authorizing and Approving the Settlement and Release of Claims and
      Causes of Action By and Among the Debtors and Certain of the Debtors’ Insiders and (II) Granting Related Relief
      [Docket No. 1173] (the “9019 Motion”).

                                                         13
Case 22-19361-MBK            Doc 1175 Filed 07/10/23 Entered 07/11/23 00:07:55                           Desc Main
                                    Document    Page 14 of 17



 source of profit and FTX as a rock-solid buyer. The Committee’s hindsight and second-guessing

 are out of hand, and its blame-game would not help BlockFi creditors even if it were fair (it is not).

          23.      In any event, the Debtors have now filed both an amended Plan and Disclosure

 Statement, and the 9019 Motion articulating the proposed settlement along with a detailed

 explanation of the key reasons for it. Once exclusivity is extended and the Disclosure Statement

 approved, BlockFi creditors will have a chance to weigh in—and here is where Voyager serves as

 a useful parallel.

          24.      Voyager was also a cryptocurrency platform that lent crypto deposited by

 customers to various proprietary trading firms to earn yield. But Voyager took far more risk.

 Unlike BlockFi, many of Voyager’s loans were uncollateralized (including a $1 billion loan to

 3AC), and others were significantly undercollateralized. Most relevant here, Voyager made

 hundreds of millions of dollars in loans to Alameda, and only required it to post less than 40% in
             26
 collateral.

          25.      During its bankruptcy, Voyager (like BlockFi) appointed a Special Committee of

 its Board to evaluate claims against insiders, and its creditors’ committee performed a parallel

 investigation. Voyager’s Special Committee found that its CEO and CFO’s diligence about 3AC,

 followed by making uncollateralized loans after reviewing a one-page net asset value statement,27

 potentially created claims, although “the standard for successfully prosecuting such claims would




 26
      Debtors’ Motion Seeking Entry of an Order (I) Authorizing the Debtors to Return Collateral and (II) Granting
      Related Relief ¶ 16-17, In re Voyager Digit. Holdings, Inc., No. 22-10943 (MEW) (Bankr. S.D.N.Y. Sept. 12,
      2022) [Docket No. 402] (the “Unwinding Motion”).
 27
      Investigation Report of the Special Committee of the Board of Directors of Voyager Digital, LLC at 37-40, In re
      Voyager Digit. Holdings, Inc., No. 22-10943 (MEW) (Bankr. S.D.N.Y. Feb. 14, 2023) [Docket No. 1000]
      (the “Voyager SC Report”).

                                                         14
Case 22-19361-MBK             Doc 1175 Filed 07/10/23 Entered 07/11/23 00:07:55                             Desc Main
                                     Document    Page 15 of 17



 be difficult to meet, with any judgment being even more difficult to collect.”28 But no one in that

 case—not the Special Committee, not the creditors committee, not any professional monitoring

 the case, and not the Bankruptcy Court—ever suggested that the estate could or should pursue

 claims based on making loans to Alameda (even though Voyager’s loans were materially under-

 or uncollateralized).

          26.      This information—including the fact that no viable claims against any insiders

 related to its Alameda loans had been identified by anyone—was all disclosed to Voyager creditors

 at a time when Alameda and FTX had crumbled, leaving Voyager creditors completely in the

 lurch. And after receiving that information, 97% of Voyager customers voted in favor of the

 plan, settlements, and releases.29 There is no reason to expect that, if BlockFi clients think

 rationally and are not distracted by the Committee’s tirade, the result will be different here.

          27.      Time will tell, and the Debtors have not yet had the ability to solicit votes on their

 Plan. But there is no reason to end exclusivity before that happens. If the Committee were truly

 concerned about cost, it would withdraw its objection to exclusivity and work with the Debtors on

 an agreed disclosure statement to send to creditors. Instead, it has refused to do that, insisting on

 both a hearing on exclusivity and what will be an extremely expensive evidentiary hearing in

 August on its frivolous “cross-motion” and on what the Committee has insisted on being the

 first-ever evidentiary hearing on approval of a Disclosure Statement (at massive cost to creditors).

 Again, the Committee’s actual conduct belies the concerns expressed in its papers.


 28
      Second Amended Disclosure Statement Relating to the Third Amended Joint Plan of Voyager Digital Holdings,
      Inc. and its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code at 63, In re Voyager Digit. Holdings,
      Inc., No. 22-10943 (MEW) (Bankr. S.D.N.Y. Jan. 13, 2023) [Docket No. 863].
 29
      See Amended Declaration of Leticia Sanchez Regarding the Solicitation and Tabulation of Votes on the Third
      Amended Joint Plan of Voyager Digital Holdings, Inc. and its Debtor Affiliates Pursuant to Chapter 11 of the
      Bankruptcy Code, In re Voyager Digit. Holdings, Inc., No. 22-10943 (MEW) (Bankr. S.D.N.Y. Mar. 1, 2023)
      [Docket No. 1127].

                                                           15
Case 22-19361-MBK        Doc 1175 Filed 07/10/23 Entered 07/11/23 00:07:55                Desc Main
                                Document    Page 16 of 17



        28.     Through the voting process, creditors will be able to make their views known with

 respect to the releases proposed in the 9019 Motion and contained in the Plan. But a dispute about

 a confirmation issue is not adequate basis—as a matter of law—to end exclusivity and permit the

 Committee to submit a competing plan. Allowing such a result would defy the Bankruptcy Code

 and create an unwieldy process with massive unnecessary expense.

                                            Conclusion

        29.     The Debtors’ confirmation timeline represents the fastest path out of chapter 11 and

 towards distributions, taking into account the required notice periods under the Bankruptcy Code

 and Rules and the practical realities of a widespread creditor base including hundreds of thousands

 of voting parties. A second Plan (with or without proposed settlements or releases) will not speed

 the process, nor would it reduce the administrative burn. It would do the opposite, extending the

 timeline, confusing creditors, and putting BlockFi client recoveries at risk. Maximizing value

 requires extending exclusivity, overruling the Committee’s objection thereto, and permitting the

 proposed Plan process to move forward forthwith.




                                                 16
Case 22-19361-MBK      Doc 1175 Filed 07/10/23 Entered 07/11/23 00:07:55              Desc Main
                              Document    Page 17 of 17


                                              Respectfully submitted,

Dated: July 10, 2023                          /s/ Michael D. Sirota
                                               COLE SCHOTZ P.C.
                                               Michael D. Sirota, Esq. (NJ Bar No. 014321986)
                                               Warren A. Usatine, Esq. (NJ Bar No. 025881995)
                                               Court Plaza North, 25 Main Street
                                               Hackensack, New Jersey 07601
                                               (201) 489-3000
                                               msirota@coleschotz.com
                                               wusatine@coleschotz.com

                                               KIRKLAND & ELLIS LLP
                                               KIRKLAND & ELLIS INTERNATIONAL LLP
                                               Joshua A. Sussberg, P.C. (admitted pro hac vice)
                                               Christine A. Okike, P.C. (admitted pro hac vice)
                                               601 Lexington Avenue
                                               New York, New York 10022
                                               (212) 446-4800
                                               jsussberg@kirkland.com
                                               christine.okike@kirkland.com

                                               HAYNES AND BOONE, LLP
                                               Richard S. Kanowitz, Esq. (NJ Bar No. 047911992)
                                               Kenric D. Kattner, Esq. (admitted pro hac vice)
                                               30 Rockefeller Plaza, 26th Floor
                                               New York, New York 10112
                                               (212) 659-7300
                                               richard.kanowitz@haynesboone.com
                                               kenric.kattner@haynesboone.com

                                               Attorneys for Debtors and
                                               Debtors in Possession




                                         17
